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 &LYLO $FWLRQ 1R

                                                     3522) 2) 6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLV VXPPRQV IRU QDPH RI LQGLYLGXDO DQG WLWOH LI DQ\ Jessie K. Liu, United States Attorney for the District of Columbia,
 ZDV UHFHLYHG E\ PH RQ GDWH           January 12, 2018              

           u , SHUVRQDOO\ VHUYHG WKH VXPPRQV RQ WKH LQGLYLGXDO DW SODFH
                                                                                  RQ GDWH                             RU

           u , OHIW WKH VXPPRQV DW WKH LQGLYLGXDO¶V UHVLGHQFH RU XVXDO SODFH RI DERGH ZLWK QDPH
                                                                  D SHUVRQ RI VXLWDEOH DJH DQG GLVFUHWLRQ ZKR UHVLGHV WKHUH
           RQ GDWH                                DQG PDLOHG D FRS\ WR WKH LQGLYLGXDO¶V ODVW NQRZQ DGGUHVV RU

           u , VHUYHG WKH VXPPRQV RQ QDPH RI LQGLYLGXDO                                                                        ZKR LV
            GHVLJQDWHG E\ ODZ WR DFFHSW VHUYLFH RI SURFHVV RQ EHKDOI RI QDPH RI RUJDQL]DWLRQ
                                                                                  RQ GDWH                             RU

           u , UHWXUQHG WKH VXPPRQV XQH[HFXWHG EHFDXVH                                                                                RU

           x 2WKHU VSHFLI\V Pursuant to Fed. R. Civ. P. 4(i)(1)(A)(ii), I served the United States Attorney for the district where the
           u
                                   action is brought by sending a copy of the summons and the complaint by certified mail to the civil-process clerk
                                   at the United States Attorney's Office for the District of Columbia.
                                   Tracking No. 7017 0530 0000 9599 9871
           0\ IHHV DUH        0                   IRU WUDYHO DQG    0               IRU VHUYLFHV IRU D WRWDO RI                     


           , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKLV LQIRUPDWLRQ LV WUXH


                                                                                      /s/ Kevin M. Downing
 'DWH 01/24/18
                                                                                              6HUYHU¶V VLJQDWXUH

                                                                 Kevin M. Downing
                                                                                          3ULQWHG QDPH DQG WLWOH




                                                                 815 Connecticut Ave., N.W., Suite 730, Washington, D.C. 20006
                                                                                              6HUYHU¶V DGGUHVV

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